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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
        Plaintiff,                                      )
                                                        )
                v.                                      ) Case No. 1:16-00139-TWP-DML
                                                        )
 DAEMEZ L. LONG,                                        )
                                                        )
        Defendant.                                      )

        ORDER DENYING DEFENDANT'S MOTION TO MODIFY SUPERVISED
               RELEASE AND MOTION FOR COURT ASSISTANCE

        This matter is before the Court on Defendant Daemez L. Long’s (“Long”) Motion to

 Modify Supervised Release (Dkt. 117) and Motion for Court Assistance (118), in which Long

 objects to the Magistrate Judge's Report and Recommendation (which was adopted by the Court

 on October 28, 2021) (See Dkt. 116). For the reasons stated below, both Motions are denied.

                                          I. DISCUSSION

        A district court may designate a magistrate judge to conduct hearings to modify, revoke,

 or terminate supervised release, including evidentiary hearings, and to submit to the judge

 proposed findings of fact and recommendations for such modification, revocation, or termination

 by the judge, including in the case of revocation, a recommended disposition under section 3583(e)

 of the title. 18 U.S.C. § 3401(i). The magistrate judge’s recommendation on a dispositive matter

 is not a final order, and the district judge makes the ultimate decision to “accept, reject, or modify”

 the findings and recommendations and the district court need not accept any portion as binding.

 Federal Rule of Criminal Procedure 59.            After a magistrate judge makes a report and

 recommendation, either party may object within fourteen days of being served with a copy of the

 same. The district court is required to review those objections de novo, determining for itself
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 whether the magistrate judge’s decisions as to those issues are supported by substantial evidence

 or were the result of an error of law. Id.

        Long was sentenced before this Court for possessing with intent to distribute a mixture or

 substance containing a detectable amount of heroin. (Dkt. 98.) On July 25, 2019, he commenced

 supervised release after serving his term of incarceration. Id. On May 10, 2021, the United

 States Probation Office ("Probation") filed a Petition for Warrant or Summons for Offender Under

 Supervision (the "Petition"), and later, a Supplemental Petition for Warrant or Summons for

 Offender Under Supervision (the "Supplemental Petition") (Dkts. 98 and 108). Pursuant to 18

 U.S.C. § 3401(i), the Court designated the criminal duty magistrate judge to appoint counsel for

 Long, to conduct the hearing on the Petition, and to submit to this Judge proposed findings of fact

 and recommendations for disposition under 18 U.S.C. § 3583(e). (Dkt. 101.)

        A hearing was held before the Magistrate Judge on the Petition on October 22, 2021. Long

 appeared in person and with Federal Community Defender (FCD) counsel Joseph Cleary 1. (Dkt.

 114.) The government appeared by MaryAnn Mindrum, Assistant United States Attorney.

 Probation appeared by Officer Michael Burress. Id. The Magistrate Judge conducted procedures

 in accordance with Fed. R. Crim. P. 32.1(a)(1) and 18 U.S.C. § 3583 (e). The alleged violations

 were (1): “The defendant shall not commit another federal, state, or local crime”; and (2) and (3):

 “You must refrain from any unlawful use of a controlled substance”. (Dkts. 98 and 108). At the

 hearing, Long admitted to violation numbers 2 and 3 as set forth in the Petition and the

 Supplemental Petition, and the Magistrate Judge found that he violated the same. (Dkt. 114.)

 The Government orally moved to withdraw violation number 1, which motion was granted. Id.


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   FCD Counsel Sam Ansell entered his appearance for Long on May 20, 2021 (Dkt. 107), however Mr. Cleary
 apparently covered the hearing held on October 22, 2021.
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 at 2. The parties ˗˗ that being Long and his counsel, and the Government attorney ˗˗ jointly

 requested that the Magistrate Judge recommend a sentence of eighteen (18) months with no

 supervised release to follow. As required, the Magistrate Judge issued a Report and

 Recommendation on October 25, 2021 which included the following recommendation:

       [T]hat Defendant's supervised release be revoked, and that Defendant be sentenced
       to the custody of the Attorney General or his designee for a period of eighteen (18)
       months with no supervised release to follow. The Magistrate Judge further
       recommends Defendant's placement at FCC Terre Haute, Indiana. The Defendant
       was taken into custody immediately pending the District Judge’s action on this Report
       and Recommendation.

       The parties are hereby notified that the District Judge may reconsider any matter
       assigned to a Magistrate Judge. The parties waived the fourteen-day period to object
       to this Report and Recommendation.

 (Dkt. 115 at 3.) Because the parties waived the fourteen-day period to object to the Report and

 Recommendation, the Court adopted it on October 28, 2021. (Dkt. 116.)

        On October 28, 2021, and again on November 1, 2021, Long filed pro-se motions objecting

 to the Report and Recommendation. (Dkts. 117 and 118.) Specifically, Long objects to a

 sentence of eighteen months incarceration and instead requests that he serve eighteen months of

 home detention with no supervised release to follow. He argues that the woman who he is in love

 with needs his support and help, and that his violations resulted from self-medicating with

 marijuana, cocaine and non-prescribed prescription drugs˗˗because his prescribed depression

 medication was not working. Id. Long does not dispute that he was in violation of conditions

 number 2 and 3 of his supervised release.          And importantly, he does not assert that he

 misunderstood the agreed upon sentence or that his counsel did not properly advise him of the

 terms. It appears that he has just changed his mind concerning the punishment.



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        The Government opposes Long's Motions and points out that Long waived his right of

 objection. The Government argues the eighteen-month sentence of incarceration was the product

 of a joint recommendation by the Government and Long at the supervised release hearing on

 October 22, 2021. Long was represented by counsel at that hearing, and the Government asserts

 that he "was aware and understood the terms of the agreement, and explicitly agreed on that

 resolution. As a result of the agreed upon resolution, the government dismissed Violation 1, which

 cut the Defendant's guideline range nearly in half."        (Dkt. 120 at 1.)      In arguing the

 reasonableness of the agreed upon sentence the Government asserts:

         The Defendant's original offense was possession with intent to distribute a mixture
         or substance containing a detectable amount of heroin. The violations described in
         the Petition and Supplemental Petition all pertain to drug use.

         ….

         The Defendant was a criminal history Category V, evidencing a significant history
         of criminal conduct.

         A sentence of eighteen months incarceration was at the low end of the advisory
         guideline range, and would afford adequate deterrence to criminal conduct –
         showing the importance of complying with conditions of release and taking
         seriously the rules imposed upon a Defendant during release.

         ….

         Home detention is not adequate under these circumstances. The Defendant was
         out on supervision when he committed the instant violations. The many drug-
         related violations show the Defendant's inability to comply with the rules.

 (Dkt. 120 at 7.)

        In issuing his Report and Recommendation, the Magistrate Judge explicitly stated that he

 considered the factors set forth in 18 U.S.C. § 3553(a) and § 3583(c), which were more fully set

 forth on the record, and found that Long violated conditions 2 and 3 of the Petition and the

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 Supplemental Petition, recommended that Long’s supervised release be revoked, and that Long

 should be sentenced for a period of eighteen (18) months with no supervised release to follow,

 which was consistent with the joint recommendation of the parties. (Dkt. 115.)

         Assuming that Long did not voluntarily waive the 14-day period within to object, upon de

 novo review of the evidence, the Court finds that the Magistrate Judge's recommended 18-month

 sentence is fair and reasonable under 18 U.S.C. § 3583(c). Allegation No. 1 concerned Long's

 pending case in the Marion Superior Court, in which Long is charged with Dealing in Marijuana,

 a level 6 felony, under Case Number 49D31-2105-F5-014027. If found in violation of Allegation

 No. 1, Long faced a guideline range of imprisonment of 30-37 months pursuant to United States

 Sentencing Guideline § 7B1.4(a). Upon dismissal of Allegation No. 1, the highest grade of

 violation was a Grade B violation and resulting guidelines dropped to 18-24 months. Considering

 the admissions made by Long at the violation hearing and the requests in his pending Motions, the

 Court finds that the Magistrate Judge's recommended 18-month sentence is legally sound and there

 are no errors of law. This period of incarceration will remove Long from the negative elements

 that influenced him to resume drug use and provide him another opportunity to undergo substance

 abuse treatment and counseling for his depression in a controlled environment. Thereafter, Long

 will have completed his obligations under this case and he can reunite with his loved one, hopefully

 free of the issues that resulted in his violations.

                                          II. CONCLUSION

         For the reasons stated above Defendant Daemez L. Long’s Motion to Modify Supervised

 Release, (Dkt. 117), and Motion for Court Assistance, (Dkt. 118), are DENIED. The Report and

 Recommendation previously adopted by the Court remains in effect. The Court will issue a


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 judgment by separate order.

        SO ORDERED.

 Date: 11/22/2021

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